Case: 24-30043     Document: 120-2        Page: 1   Date Filed: 03/24/2025




        United States Court of Appeals
             for the Fifth Circuit                               United States Court of Appeals
                            ___________                                   Fifth Circuit

                                                                        FILED
                             No. 24-30043                         March 24, 2025
                            ___________
                                                                   Lyle W. Cayce
                                                                        Clerk
United States of America,

                                                        Plaintiff—Appellee,

                                 versus

George Peterson,

                                       Defendant—Appellant.
              ______________________________

              Appeal from the United States District Court
                 for the Eastern District of Louisiana
                       USDC No. 2:22-CR-231-1
              ______________________________

ORDER:
      IT IS ORDERED that Appellee’s unopposed motion to delay the
ruling on the petition for rehearing en banc by 30 days is GRANTED.



                                  /s/ Jennifer W. Elrod
                                 Jennifer Walker Elrod
                                 Chief Judge
